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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION



   UNILOC 2017 LLC

               Plaintiff,                    Case No. 2:18-cv-00504-JRG

         v.                                  JURY TRIAL DEMANDED

   GOOGLE LLC,

               Defendant.



   DEFENDANT GOOGLE LLC’S REPLY BRIEF IN SUPPORT OF ITS MOTION FOR
          LEAVE TO SUPPLEMENT ITS INVALIDITY CONTENTIONS
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                                             INTRODUCTION

          Google’s opening brief established good cause to supplement its invalidity contentions

  concerning the PhoneFactor system and, further, that Uniloc would suffer no prejudice from the

  supplementation. Dkt. 83. The three arguments that Uniloc makes in opposition are contrary to

  the record, in conflict with settled precedent and do not rebut Google’s evidence and arguments.

          First, Uniloc argues that it has been unable to review the source code printouts cited in

  Google’s proposed supplementation and thus is unable to respond to Google’s invalidity

  arguments. This is incorrect. Microsoft made its source available for inspection by all parties,

  and Uniloc declined to review it. Uniloc has made no attempt to follow the procedures laid out

  in the Protective Order to obtain copies of the source code printouts from Microsoft. And, in

  light of the concerns Uniloc raises, Google has even offered to seek Microsoft’s permission to

  produce the source code printouts that it obtained.

          Second, Uniloc characterizes Google’s motion as seeking to introduce “new art,” and

  argues that Google was not diligent in discovering this art. Again, this is incorrect. Google

  included the PhoneFactor system in its original invalidity contentions and diligently subpoenaed

  Microsoft for source code before serving its contentions. Google now seeks to supplement its

  contentions based on that source code, which further detailed the functionality of the system.

          Finally, Uniloc argues that the source code printouts are not prior art and are inadmissible

  to support Google’s invalidity contentions. This is incorrect as a matter of law and, even if it

  were correct, it is irrelevant at this stage of litigation.

  I.      UNILOC HAS HAD AMPLE OPPORTUNITY TO REVIEW THE
          PHONEFACTOR SOURCE CODE

          Uniloc wrongly argues that it has been prejudiced because it has not been provided access

  to Microsoft’s PhoneFactor source code. P.R. 3-4 requires the party opposing a claim of patent


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  infringement to “produce or make available for inspection and copying . . . a copy of each item

  of prior art.” (emphasis added). Google fulfilled its obligation by informing Uniloc that

  Microsoft would allow Uniloc to review the source code. Dkt. 83-2 (Nguyen Decl.), ¶¶ 6-7

  Uniloc declined to do so. Id. Although the parties recollections of the meet and confer differ,

  once Uniloc clarified that it was asking whether Google would produce copies of the source code

  printouts, Google reminded Uniloc that Microsoft designated the source code as HIGHLY

  CONFIDENTIAL - SOURCE CODE under the Protective Order (Dkt. 51) and that the

  Protective Order has no provision allowing a party receiving source code to make further copies

  for other parties to the case. Dkt. 105-2, (Loveless Decl. Ex. A). Google informed Uniloc that it

  would need Microsoft’s permission to obtain copies of source code. Id.

         Furthermore, Paragraph 10(i) of the Protective Order allows Uniloc to directly request

  copies of the source code printouts and provides that the Producing Party shall produce “any

  pages requested by the Receiving Party.” Dkt. 51. Uniloc may still request copies of the source

  code printouts from Microsoft, but again has thus far declined to do so.1 Any prejudice based on

  Uniloc’s inability to review the source code printouts is thus caused by Uniloc’s inaction.

         Uniloc further argues that it is prejudiced because Uniloc’s outside counsel is unable to

  share portions of the amended claim chart containing source code materials with its client.

  However, Uniloc cites no case law in support of its contention that counsel’s inability to share

  confidential third-party source code with a client representative is cognizable prejudice. Parties

  routinely operate under protective orders that prohibit outside counsel from disclosing to client




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    In a further effort to address Uniloc’s contention that it would be prejudiced by the proposed
  supplementation, counsel for Google offered to seek permission from Microsoft to provide
  Uniloc with copies of the source code printouts that Microsoft produced to Google at Google’s
  request. Nguyen Suppl. Decl. ¶ 2 & Ex. 1. Uniloc did not accept Google’s offer.
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  representatives confidential information produced in discovery by an opposing or third-party.

  This case is no different.

  II.    GOOGLE WAS DILIGENT

         Uniloc asserts that Google was not diligent in seeking discovery because Google did not

  subpoena Microsoft until four days before it served its invalidity contentions and did not seek

  amendment until approximately one month after reviewing the Microsoft source code. The

  Court, however, has granted leave to amend even where a prior art search did not occur until

  after invalidity contentions were due. See, e.g., Uniloc 2017, LLC v. Google LLC, 18-cv-00500-

  JRG-RSP (E.D. Tex. October 9, 2019) (Dkt. 103) (counsel did not discover “Hanami” reference

  until approximately three weeks after deadline for invalidity contentions). Moreover, the Court

  has recognized that a one-month interval between the receipt of confidential information and a

  request to supplement does not show a lack of diligence. Performance Pricing, Inc. v. Google,

  Inc., Case No. 7–CV–432, 2009 U.S. Dist. LEXIS 84211, at *10 (E.D. Tex. Sept. 15, 2009).

         The single case Uniloc cites, Innovative Display Technologies v. Acer Inc., Case No.

  2:13-cv-522-JRG, Dkt. 71 at 2 (E.D. Tex. June 19, 2014), is inapposite. In that case, the

  defendants did not discover the additional prior art until nearly three months after the invalidity

  contention deadline and provided no explanation of their failure to discover the art earlier other

  than that “recognized the possibility that new art may be identified and therefore included in its

  Invalidity Contentions a reservation of rights to supplement its Invalidity Contentions.”

         Here, Uniloc fails to address the relevant facts and cannot show lack of diligence. Uniloc

  did not identify the asserted claims and did not serve its infringement contentions until May

  2019. Following Uniloc’s selection of asserted claims, Google analyzed the infringement

  contentions, evaluated the prior art, determined that the PhoneFactor system was applicable and

  properly sought third-party discovery from Microsoft before serving its invalidity contentions.
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  After reviewing the source code and receiving paper printouts from Microsoft, Google’s counsel

  worked with a source code expert to understand and incorporate specific citations to source code

  during a period when both were traveling. See Dkt. 83 at 2-3. Google sought to amend its

  existing PhoneFactor system contentions in less than one month.

  III.   UNILOC’S ARGUMENTS THAT PHONEFACTOR DOES NOT CONSTITUTE
         PRIOR ART ARE IRRELEVANT AND INCORRECT

         Uniloc contends that Google’s supplemental charts for the PhoneFactor system are

  improper because “do not qualify as prior art.’ Dkt. 105 at 5-6. This argument fails for several

  reasons. As a threshold matter, whether a reference or supporting documentation qualifies as

  prior art is an evidentiary issue that is not properly addressed at the stage of supplementing

  invalidity contentions. As courts in this District recognize, a party “is allowed to rely on

  materials … obtained throughout the course of discovery in a given case to support and expand

  upon the theories disclosed in the invalidity contentions.” Realtime Data LLC v. Echostar Corp.,

  6:17-CV-00084, Dkt. 163 (E.D. Tex. Aug. 24, 2018). Thus, “[t]o the extent necessary, any

  challenge to the use of or reliance on these documents can be brought via a Daubert motion or as

  a motion in limine or exhibit objections during pretrial proceedings.” Id.

         Putting this aside, Uniloc fundamentally misunderstands the law regarding prior art and

  Google’s use of Microsoft’s documentation. There is no dispute that the PhoneFactor system is

  prior art and was in public use before the critical date of the patent-in-suit. Accordingly, once a

  system is in “public use,” all of the features of that product are prior art, regardless of whether

  they are openly visible. See, e.g., New Railhead Mfg., L.L.C. v. Vermeer Mfg. Co., 298 F.3d

  1290, 1297 (Fed. Cir. 2002). Thus, “while prior art is not confidential, documents about prior art

  may be confidential.” Telecomm. Sys., Inc. v. Mobile 365, Inc., 2009 WL 5943235, at *7 (E.D.

  Va. Mar. 31, 2009). Indeed, the law is well-settled that a third-party’s confidential documents


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  can be used to verify the features of a publicly-available, prior-art product. See, e.g., Lockwood

  v. Am. Airlines, Inc., 107 F.3d 1565, 1570 (Fed. Cir. 1997); K Tech Telecomm., Inc. v. Blonder

  Tongue Lab., Inc., 2013 WL 12080965, at *4 (C.D. Cal. Aug. 29, 2013), aff'd 562 F. App’x 972

  (Fed. Cir. 2014); Touchcom, Inc. v. Bereskin & Parr, 790 F. Supp. 2d 435, 453-54 (E.D. Va.

  2011) (a prior-art system “need not outwardly describe the full structure of the invention for all

  to see and recognize, it need simply embody that invention”). Here, Google’s supplemental

  charts do precisely what the case law deems permissible and appropriate. They reference

  confidential source code that verifies the features of a publicly available, prior-art system.

         The cases Uniloc cites do not hold otherwise. In Vulcan Engineering, a prior art system

  was built to perform a task, but was disassembled soon after it was built because it was

  inoperable. Vulcan Eng’g Co., Inc. v. Fata Aluminium, Inc., 278 F.3d 1366, 1372 (Fed. Cir.

  2002). The case stands for the proposition that a system cannot have been “in public use” when

  it was never, in fact, used. See id. In W.L. Gore, the Federal Circuit held that a third party’s sale

  of a machine—the Cropper machine—that was used in secret to perform the claimed process

  was not a public use of the claimed process. W.L. Gore & Assocs., Inc. v. Garlock, Inc., 721

  F.3d 1540, 1549-50 (Fed. Cir. 1983). Here, the asserted claims are system claims, and Uniloc

  does not dispute that the PhoneFactor system was publicly used.

                                            CONCLUSION

         For the preceding reasons and those set forth in Google’s opening brief, Google

  respectfully requests that the Court grant Google’s motion to supplement its invalidity

  contentions with respect to the PhoneFactor system.




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   Dated: November 6, 2019                  /s/ David A. Caine
                                            Michael E. Jones
                                            State Bar No. 10929400
                                            mikejones@potterminton.com
                                            POTTER MINTON, P.C.
                                            110 N. College Ave., Suite 500
                                            Tyler, Texas 75702
                                            Tel: 903-597-8311
                                            Fax: 903-593-0846

                                            Michael A. Berta
                                            Michael.berta@arnoldporter.com
                                            ARNOLD & PORTER
                                            KAYE SCHOLER LLP
                                            Three Embarcadero Center
                                            10th Floor
                                            San Francisco, CA 94111-4024
                                            Tel: 415-471-3100
                                            Fax: 415-471-3400

                                            Nicholas H. Lee
                                            Nicholas.lee@arnoldporter.com
                                            ARNOLD & PORTER
                                            KAYE SCHOLER LLP
                                            777 South Figueroa Street
                                            44th Floor
                                            Los Angeles, CA 90017-5844
                                            Tel: 213-243-4000
                                            Fax: 213-243-4199

                                            David A. Caine
                                            David.Caine@arnoldporter.com
                                            Michael D.K. Nguyen
                                            Michael.Nguyen@arnoldporter.com
                                            Bonnie Phan
                                            Bonnie.Phan@arnoldporter.com
                                            ARNOLD & PORTER
                                            KAYE SCHOLER LLP
                                            3000 El Camino Real Five Palo Alto Square,
                                            Suite 500
                                            Palo Alto, CA 94306-3807
                                            Tel: 650-319-4500
                                            Fax: 650-319-4700

                                            Nicholas M. Nyemah
                                            nicholas.nyemah@arnoldporter.com

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                                            ARNOLD & PORTER
                                            KAYE SCHOLER LLP
                                            601 Massachusetts Ave, NW
                                            Washington, DC 20001-3743
                                            Tel: 202-942-5000
                                            Fax: 202-942-5999

                                            Mark Samartino
                                            mark.samartino@arnoldporter.com
                                            ARNOLD & PORTER
                                            KAYE SCHOLER LLP
                                            70 West Madison Street Suite 4200
                                            Chicago, IL 60602-4231
                                            Tel: 312-583-2300
                                            Fax: 312-583-2360

                                            Attorneys for Google LLC




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on November 6, 2019, a true and correct copy of

  the foregoing was served to the parties’ counsel of record via the Court’s CM/ECF system

  pursuant to Local Rule CV-5(a)(3).

                                                     /s/ David A. Caine
                                                     David A. Caine
